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15

16 Counsel for Defendant Google LLC

17                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
     CHASOM BROWN, et al., individually and         Case No. 4:20-cv-03664-YGR-SVK
19   on behalf of themselves and all others
     similarly situated,                            DECLARATION OF JOSEPH H.
20
                                                    MARGOLIES IN SUPPORT OF
                    Plaintiffs,                     PLAINTIFFS’ ADMINISTRATIVE
21
            v.                                      MOTION TO CONSIDER WHETHER
22                                                  ANOTHER PARTY’S MATERIAL
     GOOGLE LLC,                                    SHOULD BE SEALED (DKT. 1033)
23
                    Defendant.                      Judge: Hon. Yvonne Gonzalez Rogers
24

25

26

27

28
                                                                Case No. 4:20-cv-03664-YGR-SVK
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 1         I, Joseph H. Margolies, declare as follows:
 2         1.      I am an attorney with Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for
 3 Defendant Google LLC (“Google”) in this action. I am making this declaration pursuant to Civil

 4 Local Rule 79-5(e)–(f) as an attorney for Google as the Designating Party, pursuant to Civil Local

 5 Rule 79-5(f)(3) in response to Dkt. 1033.

 6         2.      On October 17, 2023, Plaintiffs filed their Administrative Motion to Consider
 7 Whether Another Party’s Material Should be Sealed re: Parties’ Motions in Limine (Dkt. 1033)

 8 (“Motion”). On October 17, 2023, I obtained unredacted copies of the document sought to be sealed.

 9         3.      I have reviewed the documents that Plaintiffs moved to file under seal pursuant to
10 Civil Local Rule 79-5(f). Based on my review, there is good cause to seal the following:

11                 a. Plaintiffs’ Motions in Limine and Oppositions to Google’s Motions
12    Document                   Portions to be Filed       Basis for Sealing
                                 Under Seal
13    Declaration of M.          Highlighted Portions at:   The information requested to be sealed
      Logan Wright ISO                                      contains Google’s highly confidential
14    Plaintiffs’ Motion in  Seal Entirely                  and proprietary information regarding
15    Limine 1 to Preclude                                  highly sensitive features of Google’s
      Google from Relying on                                internal systems and operations,
16    Non-Public Source                                     including details regarding Google’s
      Code at Trial                                         internal projects and source code, that
17                                                          Google maintains as confidential in the
      Appendix A: GOOG-                                     ordinary course of its business and is not
18    BRWN-00858535                                         generally known to the public or
19                                                          Google’s competitors. Such confidential
                                                            and proprietary information reveals
20                                                          Google’s internal strategies, system
                                                            designs, and business practices for
21                                                          operating and maintaining many of its
                                                            important services, and falls within the
22
                                                            protected scope of the Protective Order
23                                                          entered in this action. See Dkt. 81 at 2–3.
                                                            Public disclosure of such confidential
24                                                          and proprietary information could affect
                                                            Google’s competitive standing as
25                                                          competitors may alter their systems and
                                                            practices relating to competing products.
26
                                                            It may also place Google at an increased
27                                                          risk of cybersecurity threats, as third
                                                            parties may seek to use the information
28

                                                 1               Case No. 4:20-cv-03664-YGR-SVK
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 1                                                       to compromise Google’s internal
                                                         practices relating to competing products.
 2   Declaration of M.      Highlighted Portions at:     The information requested to be sealed
 3   Logan Wright ISO                                    contains Google’s highly confidential
     Plaintiffs’ Motion in  Page 3                       and proprietary information regarding
 4   Limine 1 to Preclude                                highly sensitive features of Google’s
     Google from Relying on                              internal systems and operations,
 5   Non-Public Source                                   including details regarding Google’s
     Code at Trial                                       internal projects, identifiers, databases,
 6                                                       and their proprietary functionalities, that
 7   Exhibit 3: 2021-04-30                               Google maintains as confidential in the
     Letter re: Google                                   ordinary course of its business and is not
 8   Source Code                                         generally known to the public or
                                                         Google’s competitors. Such confidential
 9                                                       and proprietary information reveals
                                                         Google’s internal strategies, system
10                                                       designs, and business practices for
11                                                       operating and maintaining many of its
                                                         important services, and falls within the
12                                                       protected scope of the Protective Order
                                                         entered in this action. See Dkt. 81 at 2–3.
13                                                       Public disclosure of such confidential
                                                         and proprietary information could affect
14                                                       Google’s competitive standing as
15                                                       competitors may alter their systems and
                                                         practices relating to competing products.
16                                                       It may also place Google at an increased
                                                         risk of cybersecurity threats, as third
17                                                       parties may seek to use the information
                                                         to compromise Google’s internal
18
                                                         practices relating to competing products.
19   Declaration of M.        Highlighted Portions at:   The information requested to be sealed
     Logan Wright ISO                                    contains Google’s highly confidential
20   Plaintiffs’ Motion in    Page 4                     and proprietary information regarding
     Limine 1 to Preclude                                highly sensitive features of Google’s
21   google from Relying on                              internal systems and operations,
     Non-Public Source                                   including details regarding Google’s
22
     Code at Trial                                       internal projects and identifiers, that
23                                                       Google maintains as confidential in the
     Exhibit 4: 2021-05-25                               ordinary course of its business and is not
24   Letter re: Non-Public                               generally known to the public or
     Source Code                                         Google’s competitors. Such confidential
25                                                       and proprietary information reveals
26                                                       Google’s internal strategies, system
                                                         designs, and business practices for
27                                                       operating and maintaining many of its
                                                         important services, and falls within the
28                                                       protected scope of the Protective Order

                                              2                Case No. 4:20-cv-03664-YGR-SVK
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 1                                                       entered in this action. See Dkt. 81 at 2–3.
                                                         Public disclosure of such confidential
 2                                                       and proprietary information could affect
                                                         Google’s competitive standing as
 3
                                                         competitors may alter their systems and
 4                                                       practices relating to competing products.
                                                         It may also place Google at an increased
 5                                                       risk of cybersecurity threats, as third
                                                         parties may seek to use the information
 6                                                       to compromise Google’s internal
 7                                                       practices relating to competing products.
     Declaration of M.        Highlighted Portions at:   The information requested to be sealed
 8   Logan Wright ISO                                    contains Google’s highly confidential
     Plaintiffs’ Motion in    Page 2                     and proprietary information regarding
 9   Limine 1 to Preclude                                highly sensitive features of Google’s
     google from Relying on                              internal systems and operations,
10   Non-Public Source                                   including details regarding Google’s
11   Code at Trial                                       internal projects and their proprietary
                                                         functionalities, that Google maintains as
12   Exhibit 5: 2021-06-30                               confidential in the ordinary course of its
     Letter re: source code                              business and is not generally known to
13                                                       the public or Google’s competitors. Such
                                                         confidential and proprietary information
14                                                       reveals Google’s internal strategies,
15                                                       system designs, and business practices
                                                         for operating and maintaining many of
16                                                       its important services, and falls within
                                                         the protected scope of the Protective
17                                                       Order entered in this action. See Dkt. 81
                                                         at 2–3. Public disclosure of such
18
                                                         confidential and proprietary information
19                                                       could affect Google’s competitive
                                                         standing as competitors may alter their
20                                                       systems and practices relating to
                                                         competing products. It may also place
21                                                       Google at an increased risk of
                                                         cybersecurity threats, as third parties
22
                                                         may seek to use the information to
23                                                       compromise Google’s internal practices
                                                         relating to competing products.
24   Declaration of M.        Highlighted Portions at:   The information requested to be sealed
     Logan Wright ISO                                    contains Google’s highly confidential
25   Plaintiffs’ Motion in    Page 1                     and proprietary information regarding
26   Limine 1 to Preclude                                highly sensitive features of Google’s
     google from Relying on                              internal systems and operations,
27   Non-Public Source                                   including details regarding Google’s
     Code at Trial                                       internal logs, that Google maintains as
28                                                       confidential in the ordinary course of its

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                                 MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1   Exhibit 6: 2023-02-22                              business and is not generally known to
     Email re: Brown -                                  the public or Google’s competitors. Such
 2   Source Code Review -                               confidential and proprietary information
     Request to Print                                   reveals Google’s internal strategies,
 3
                                                        system designs, and business practices
 4                                                      for operating and maintaining many of
                                                        its important services, and falls within
 5                                                      the protected scope of the Protective
                                                        Order entered in this action. See Dkt. 81
 6                                                      at 2–3. Public disclosure of such
 7                                                      confidential and proprietary information
                                                        could affect Google’s competitive
 8                                                      standing as competitors may alter their
                                                        systems and practices relating to
 9                                                      competing products. It may also place
                                                        Google at an increased risk of
10                                                      cybersecurity threats, as third parties
11                                                      may seek to use the information to
                                                        compromise Google’s internal practices
12                                                      relating to competing products.
     Declaration of Ryan J.  Highlighted Portions at:   The information requested to be sealed
13   McGee ISO Plaintiffs’                              contains Google’s highly confidential
     Motion in Limine        Seal Entirely              and proprietary information regarding
14
     Number 5 to Preclude                               highly sensitive features of Google’s
15   Google from                                        internal systems and operations,
     Introducing Disparaging                            including details regarding Google’s
16   Evidence or Argument                               internal projects, prototyping, and
                                                        product assessments, that Google
17   Exhibit B: GOOG-                                   maintains as confidential in the ordinary
     BRWN-00568364                                      course of its business and is not
18
                                                        generally known to the public or
19                                                      Google’s competitors. Such confidential
                                                        and proprietary information reveals
20                                                      Google’s internal strategies, system
                                                        designs, and business practices for
21                                                      operating and maintaining many of its
                                                        important services, and falls within the
22
                                                        protected scope of the Protective Order
23                                                      entered in this action. See Dkt. 81 at 2–3.
                                                        Public disclosure of such confidential
24                                                      and proprietary information could affect
                                                        Google’s competitive standing as
25                                                      competitors may alter their systems and
26                                                      practices relating to competing products.
                                                        It may also place Google at an increased
27                                                      risk of cybersecurity threats, as third
                                                        parties may seek to use the information
28

                                              4                Case No. 4:20-cv-03664-YGR-SVK
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 1                                                       to compromise Google’s internal
                                                         practices relating to competing products.
 2   Declaration of Ryan J.    Highlighted Portions at: The information requested to be sealed
 3   McGee ISO Plaintiffs’                               contains Google’s highly confidential
     Motion in Limine          Pages 2–3, 25–32,         and proprietary information regarding
 4   Number 5 to Preclude      36–41                     highly sensitive features of Google’s
     Google from                                         internal systems and operations,
 5   Introducing Disparaging                             including details regarding Google’s
     Evidence or Argument                                internal projects and assessments, that
 6                                                       Google maintains as confidential in the
 7   Exhibit D: GOOG-                                    ordinary course of its business and is not
     CABR-05266100                                       generally known to the public or
 8                                                       Google’s competitors. Such confidential
                                                         and proprietary information reveals
 9                                                       Google’s internal strategies, system
                                                         designs, and business practices for
10                                                       operating and maintaining many of its
11                                                       important services, and falls within the
                                                         protected scope of the Protective Order
12                                                       entered in this action. See Dkt. 81 at 2–3.
                                                         Public disclosure of such confidential
13                                                       and proprietary information could affect
                                                         Google’s competitive standing as
14
                                                         competitors may alter their systems and
15                                                       practices relating to competing products.
                                                         It may also place Google at an increased
16                                                       risk of cybersecurity threats, as third
                                                         parties may seek to use the information
17                                                       to compromise Google’s internal
                                                         practices relating to competing products.
18
     Plaintiffs’ Opposition to Highlighted Portions at: The information requested to be sealed
19   Google’s Motion in                                  contains Google’s highly confidential
     Limine Number 1 to        Pages 1:22; 1:23; 2:3;    and proprietary information regarding
20   Exclude Evidence and      2:5; 2:11; 2:16–17; 2:20; highly sensitive features of Google’s
     Argument re: Sanctions 2:24; 3:3; 3:9–10; 3:18; internal systems and operations,
21   Proceedings and           3:23                      including details regarding Google’s
22   Discovery Misconduct                                internal logs, log fields, and metrics, that
                                                         Google maintains as confidential in the
23                                                       ordinary course of its business and is not
                                                         generally known to the public or
24                                                       Google’s competitors. Such confidential
                                                         and proprietary information reveals
25                                                       Google’s internal strategies, system
26                                                       designs, and business practices for
                                                         operating and maintaining many of its
27                                                       important services, and falls within the
                                                         protected scope of the Protective Order
28                                                       entered in this action. See Dkt. 81 at 2–3.

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 1                                                          Public disclosure of such confidential
                                                            and proprietary information could affect
 2                                                          Google’s competitive standing as
                                                            competitors may alter their systems and
 3
                                                            practices relating to competing products.
 4                                                          It may also place Google at an increased
                                                            risk of cybersecurity threats, as third
 5                                                          parties may seek to use the information
                                                            to compromise Google’s internal
 6                                                          practices relating to competing products.
 7   Declaration of              Highlighted Portions at:   The information requested to be sealed
     Alexander Frawley in                                   contains Google’s highly confidential
 8   Opposition to Google’s      PDF Pages 7, 9             and proprietary information regarding
     Motion in Limine                                       highly sensitive features of Google’s
 9   Number 1: re: Sanctions                                internal systems and operations,
                                                            including details regarding Google’s
10   Exhibit 2                                              internal logs, log fields, and metrics, that
11                                                          Google maintains as confidential in the
                                                            ordinary course of its business and is not
12                                                          generally known to the public or
                                                            Google’s competitors. Such confidential
13                                                          and proprietary information reveals
                                                            Google’s internal strategies, system
14
                                                            designs, and business practices for
15                                                          operating and maintaining many of its
                                                            important services, and falls within the
16                                                          protected scope of the Protective Order
                                                            entered in this action. See Dkt. 81 at 2–3.
17                                                          Public disclosure of such confidential
                                                            and proprietary information could affect
18
                                                            Google’s competitive standing as
19                                                          competitors may alter their systems and
                                                            practices relating to competing products.
20                                                          It may also place Google at an increased
                                                            risk of cybersecurity threats, as third
21                                                          parties may seek to use the information
                                                            to compromise Google’s internal
22
                                                            practices relating to competing products.
23   Plaintiffs’ Opposition to   Highlighted Portions at:   The information requested to be sealed
     Google’s Motion in                                     contains Google’s highly confidential
24   Limine Number 4 to          Pages 3:27–28; 4:8–9       and proprietary information regarding
     Exclude Evidence and                                   highly sensitive features of Google’s
25   Argument re: Joining                                   internal systems and operations,
26   Data                                                   including details regarding Google’s
                                                            internal logs and their proprietary
27                                                          functionalities, that Google maintains as
                                                            confidential in the ordinary course of its
28                                                          business and is not generally known to

                                                 6                Case No. 4:20-cv-03664-YGR-SVK
                                    MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1                                                       the public or Google’s competitors. Such
                                                         confidential and proprietary information
 2                                                       reveals Google’s internal strategies,
                                                         system designs, and business practices
 3
                                                         for operating and maintaining many of
 4                                                       its important services, and falls within
                                                         the protected scope of the Protective
 5                                                       Order entered in this action. See Dkt. 81
                                                         at 2–3. Public disclosure of such
 6                                                       confidential and proprietary information
 7                                                       could affect Google’s competitive
                                                         standing as competitors may alter their
 8                                                       systems and practices relating to
                                                         competing products. It may also place
 9                                                       Google at an increased risk of
                                                         cybersecurity threats, as third parties
10                                                       may seek to use the information to
11                                                       compromise Google’s internal practices
                                                         relating to competing products.
12   Declaration of           Highlighted Portions (in   The information requested to be sealed
     Alexander Frawley in     Blue) at:                  contains Google’s highly confidential
13   Opposition to Google’s                              and proprietary information regarding
     Motion in Limine         PDF Pages 3–4; 6–7         highly sensitive features of Google’s
14
     Number 4 re: Joining                                internal systems and operations,
15   Data                                                including details regarding Google’s
                                                         internal projects and proposals, that
16   Exhibit 1                                           Google maintains as confidential in the
                                                         ordinary course of its business and is not
17                                                       generally known to the public or
                                                         Google’s competitors. Such confidential
18
                                                         and proprietary information reveals
19                                                       Google’s internal strategies, system
                                                         designs, and business practices for
20                                                       operating and maintaining many of its
                                                         important services, and falls within the
21                                                       protected scope of the Protective Order
                                                         entered in this action. See Dkt. 81 at 2–3.
22
                                                         Public disclosure of such confidential
23                                                       and proprietary information could affect
                                                         Google’s competitive standing as
24                                                       competitors may alter their systems and
                                                         practices relating to competing products.
25                                                       It may also place Google at an increased
26                                                       risk of cybersecurity threats, as third
                                                         parties may seek to use the information
27                                                       to compromise Google’s internal
                                                         practices relating to competing products.
28

                                              7                Case No. 4:20-cv-03664-YGR-SVK
                                 MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-03664-YGR Document 1040 Filed 10/24/23 Page 9 of 15




 1   Declaration of              Highlighted Portions at:   The information requested to be sealed
     Alexander Frawley in                                   contains Google’s highly confidential
 2   Opposition to Google’s      Sealed Entirely            and proprietary information regarding
     Motion in Limine                                       highly sensitive features of Google’s
 3
     Number 4 re: Joining                                   internal systems and operations,
 4   Data                                                   including details regarding Google’s
                                                            internal projects and their proprietary
 5   Exhibit 2                                              functionalities, that Google maintains as
                                                            confidential in the ordinary course of its
 6                                                          business and is not generally known to
 7                                                          the public or Google’s competitors. Such
                                                            confidential and proprietary information
 8                                                          reveals Google’s internal strategies,
                                                            system designs, and business practices
 9                                                          for operating and maintaining many of
                                                            its important services, and falls within
10                                                          the protected scope of the Protective
11                                                          Order entered in this action. See Dkt. 81
                                                            at 2–3. Public disclosure of such
12                                                          confidential and proprietary information
                                                            could affect Google’s competitive
13                                                          standing as competitors may alter their
                                                            systems and practices relating to
14                                                          competing products. It may also place
15                                                          Google at an increased risk of
                                                            cybersecurity threats, as third parties
16                                                          may seek to use the information to
                                                            compromise Google’s internal practices
17                                                          relating to competing products.
     Plaintiffs’ Opposition to   Highlighted Portions at:   The information requested to be sealed
18
     Google’s Motion in                                     contains Google’s highly confidential
19   Limine Number 3             Pages 1:16–17; 1:22;       and proprietary information regarding
     Regarding 104               2:5–6; 2:14–19;            highly sensitive features of Google’s
20   Documents that Google       3:12–13; 3:16–17;          internal systems and operations,
     Claims are Irrelevant       321–23; 4:2–3; 5:21–22     including details regarding Google’s
21                                                          internal projects and proposals, that
                                                            Google maintains as confidential in the
22
                                                            ordinary course of its business and is not
23                                                          generally known to the public or
                                                            Google’s competitors. Such confidential
24                                                          and proprietary information reveals
                                                            Google’s internal strategies, system
25                                                          designs, and business practices for
26                                                          operating and maintaining many of its
                                                            important services, and falls within the
27                                                          protected scope of the Protective Order
                                                            entered in this action. See Dkt. 81 at 2–3.
28                                                          Public disclosure of such confidential

                                                 8                Case No. 4:20-cv-03664-YGR-SVK
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 1                                                        and proprietary information could affect
                                                          Google’s competitive standing as
 2                                                        competitors may alter their systems and
                                                          practices relating to competing products.
 3
                                                          It may also place Google at an increased
 4                                                        risk of cybersecurity threats, as third
                                                          parties may seek to use the information
 5                                                        to compromise Google’s internal
                                                          practices relating to competing products.
 6
                 b. Google’s Motions in Limine and Oppositions to Plaintiffs’ Motions
 7

 8    Document                 Portions to be Filed       Basis for Sealing
                               Under Seal
 9    Google LLC’s Motion      Highlighted Portions at:   The information requested to be sealed
      in Limine No. 1 to                                  contains Google’s highly confidential
10    Exclude Evidence and     Page 4:26                  and proprietary information regarding
      Argument Regarding                                  highly sensitive features of Google’s
11
      Sanctions Orders,                                   internal systems and operations,
12    Sanctions Proceedings                               including details regarding Google’s
      and Purported Discover                              internal logs and metrics, that Google
13    Misconduct                                          maintains as confidential in the
                                                          ordinary course of its business and is
14                                                        not generally known to the public or
                                                          Google’s competitors. Such
15
                                                          confidential and proprietary
16                                                        information reveals Google’s internal
                                                          strategies, system designs, and business
17                                                        practices for operating and maintaining
                                                          many of its important services, and
18                                                        falls within the protected scope of the
19                                                        Protective Order entered in this action.
                                                          See Dkt. 81 at 2–3. Public disclosure of
20                                                        such confidential and proprietary
                                                          information could affect Google’s
21                                                        competitive standing as competitors
                                                          may alter their systems and practices
22                                                        relating to competing products. It may
23                                                        also place Google at an increased risk
                                                          of cybersecurity threats, as third parties
24                                                        may seek to use the information to
                                                          compromise Google’s internal
25                                                        practices relating to competing
                                                          products
26
      Google LLC’s Motion      Highlighted Portions at:   The information requested to be sealed
27    in Limine No 2 to                                   contains Google’s highly confidential
      Exclude Evidence and     Pages 1:21–22; 1:25;       and proprietary information regarding
28    Argument Regarding       1:27; 2:1–3; 2:25          highly sensitive features of Google’s

                                               9                Case No. 4:20-cv-03664-YGR-SVK
                                  MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1    Class-wide Damages                                 internal systems and operations,
      and Certain Other                                  including details regarding Google’s
 2    Damages Evidence                                   internal projects, as well as metrics
                                                         related to Google’s financial
 3
                                                         information, that Google maintains as
 4                                                       confidential in the ordinary course of
                                                         its business and is not generally known
 5                                                       to the public or Google’s competitors.
                                                         Such confidential and proprietary
 6                                                       information reveals Google’s internal
 7                                                       strategies, system designs, and business
                                                         practices for operating and maintaining
 8                                                       many of its important services, and
                                                         falls within the protected scope of the
 9                                                       Protective Order entered in this action.
                                                         See Dkt. 81 at 2–3. Public disclosure of
10                                                       such confidential and proprietary
11                                                       information could affect Google’s
                                                         competitive standing as competitors
12                                                       may alter their systems and practices
                                                         relating to competing products. It may
13                                                       also place Google at an increased risk
                                                         of cybersecurity threats, as third parties
14                                                       may seek to use the information to
15                                                       compromise Google’s internal
                                                         practices relating to competing
16                                                       products
      Google LLC’s Motion     Highlighted Portions at:   The information requested to be sealed
17    in Limine No. 3 to                                 contains Google’s highly confidential
      Exclude Evidence and    Page 3:1–22                and proprietary information regarding
18
      Argument Regarding                                 highly sensitive features of Google’s
19    Products, Services,                                internal systems and operations,
      Regulations, and Data                              including details regarding Google’s
20    Flows Outside of the                               internal projects and proposed features,
      Scope of Plaintiffs’                               that Google maintains as confidential
21    Allegation                                         in the ordinary course of its business
                                                         and is not generally known to the
22
                                                         public or Google’s competitors. Such
23                                                       confidential and proprietary
                                                         information reveals Google’s internal
24                                                       strategies, system designs, and business
                                                         practices for operating and maintaining
25                                                       many of its important services, and
26                                                       falls within the protected scope of the
                                                         Protective Order entered in this action.
27                                                       See Dkt. 81 at 2–3. Public disclosure of
                                                         such confidential and proprietary
28                                                       information could affect Google’s

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 1                                                       competitive standing as competitors
                                                         may alter their systems and practices
 2                                                       relating to competing products. It may
                                                         also place Google at an increased risk
 3
                                                         of cybersecurity threats, as third parties
 4                                                       may seek to use the information to
                                                         compromise Google’s internal
 5                                                       practices relating to competing
                                                         products
 6    Declaration of Carl     Highlighted Portions at:   The information requested to be sealed
 7    Spilly ISO Google                                  contains Google’s highly confidential
      LLC’s Motion in         PDF Pages 19–21            and proprietary information regarding
 8    Limine No. 3 to                                    highly sensitive features of Google’s
      Exclude Evidence and                               internal systems and operations,
 9    Argument Regarding                                 including details regarding Google’s
      Products, Services,                                internal projects and proposals, that
10    Regulations, and Data                              Google maintains as confidential in the
11    Flows Outside of the                               ordinary course of its business and is
      Scope of Plaintiffs’                               not generally known to the public or
12    Allegation                                         Google’s competitors. Such
                                                         confidential and proprietary
13                                                       information reveals Google’s internal
                                                         strategies, system designs, and business
14
                                                         practices for operating and maintaining
15                                                       many of its important services, and
                                                         falls within the protected scope of the
16                                                       Protective Order entered in this action.
                                                         See Dkt. 81 at 2–3. Public disclosure of
17                                                       such confidential and proprietary
                                                         information could affect Google’s
18
                                                         competitive standing as competitors
19                                                       may alter their systems and practices
                                                         relating to competing products. It may
20                                                       also place Google at an increased risk
                                                         of cybersecurity threats, as third parties
21                                                       may seek to use the information to
                                                         compromise Google’s internal
22
                                                         practices relating to competing
23                                                       products
      Google LLC’s Motion     Highlighted Portions at:   The information requested to be sealed
24    in Limine No. 4 to                                 contains Google’s highly confidential
      Exclude Evidence and    Pages 1:26–27; 2:11        and proprietary information regarding
25    Argument Regarding                                 highly sensitive features of Google’s
26    the Joining of                                     internal systems and operations,
      Authenticated and                                  including details regarding Google’s
27    Unauthenticated Data                               internal logs and nomenclature, that
                                                         Google maintains as confidential in the
28                                                       ordinary course of its business and is

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 1                                                        not generally known to the public or
                                                          Google’s competitors. Such
 2                                                        confidential and proprietary
                                                          information reveals Google’s internal
 3
                                                          strategies, system designs, and business
 4                                                        practices for operating and maintaining
                                                          many of its important services, and
 5                                                        falls within the protected scope of the
                                                          Protective Order entered in this action.
 6                                                        See Dkt. 81 at 2–3. Public disclosure of
 7                                                        such confidential and proprietary
                                                          information could affect Google’s
 8                                                        competitive standing as competitors
                                                          may alter their systems and practices
 9                                                        relating to competing products. It may
                                                          also place Google at an increased risk
10                                                        of cybersecurity threats, as third parties
11                                                        may seek to use the information to
                                                          compromise Google’s internal
12                                                        practices relating to competing
                                                          products
13    Declaration of Tracy     Highlighted Portions at:   The information requested to be sealed
      Gao ISO Google LLC’s                                contains Google’s highly confidential
14
      Motion in Limine No. 4   PDF Pages 5–8; 10–29;      and proprietary information regarding
15    to Exclude Evidence      31–50                      highly sensitive features of Google’s
      and Argument                                        internal systems and operations,
16    Regarding the Joining                               including details regarding Google’s
      of Authenticated and                                internal projects, databases, and logs,
17    Unauthenticated Data                                as well as internal metrics, that Google
                                                          maintains as confidential in the
18
                                                          ordinary course of its business and is
19                                                        not generally known to the public or
                                                          Google’s competitors. Such
20                                                        confidential and proprietary
                                                          information reveals Google’s internal
21                                                        strategies, system designs, and business
                                                          practices for operating and maintaining
22
                                                          many of its important services, and
23                                                        falls within the protected scope of the
                                                          Protective Order entered in this action.
24                                                        See Dkt. 81 at 2–3. Public disclosure of
                                                          such confidential and proprietary
25                                                        information could affect Google’s
26                                                        competitive standing as competitors
                                                          may alter their systems and practices
27                                                        relating to competing products. It may
                                                          also place Google at an increased risk
28                                                        of cybersecurity threats, as third parties

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 1                                                           may seek to use the information to
                                                             compromise Google’s internal
 2                                                           practices relating to competing
                                                             products
 3
      Google LLC’s                Highlighted Portions at:   The information requested to be sealed
 4    Opposition to Plaintiffs’                              contains Google’s highly confidential
      Motion in Limine 1 to       Pages 1–2                  and proprietary information regarding
 5    Preclude Google from                                   highly sensitive features of Google’s
      Relying on Non-public                                  internal systems and operations,
 6    Source code at Trial                                   including details regarding Google’s
 7                                                           source code, that Google maintains as
                                                             confidential in the ordinary course of
 8                                                           its business and is not generally known
                                                             to the public or Google’s competitors.
 9                                                           Such confidential and proprietary
                                                             information reveals Google’s internal
10                                                           strategies, system designs, and business
11                                                           practices for operating and maintaining
                                                             many of its important services, and
12                                                           falls within the protected scope of the
                                                             Protective Order entered in this action.
13                                                           See Dkt. 81 at 2–3. Public disclosure of
                                                             such confidential and proprietary
14
                                                             information could affect Google’s
15                                                           competitive standing as competitors
                                                             may alter their systems and practices
16                                                           relating to competing products. It may
                                                             also place Google at an increased risk
17                                                           of cybersecurity threats, as third parties
                                                             may seek to use the information to
18
                                                             compromise Google’s internal
19                                                           practices relating to competing
                                                             products
20    Declaration of Viola      Highlighted Portions at:     The information requested to be sealed
      Trebicka ISO Defendant                                 contains Google’s highly confidential
21    Google LLC’s              Pages 25–40                  and proprietary information regarding
22    Opposition to Plaintiffs’                              highly sensitive features of Google’s
      Motion in Limine 5 re:                                 internal systems and operations,
23    Disparaging Evidence                                   including details regarding Google’s
      or Argument                                            internal projects, databases, and logs,
24                                                           as well as internal metrics, that Google
                                                             maintains as confidential in the
25                                                           ordinary course of its business and is
26                                                           not generally known to the public or
                                                             Google’s competitors. Such
27                                                           confidential and proprietary
                                                             information reveals Google’s internal
28                                                           strategies, system designs, and business

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 1                                                              practices for operating and maintaining
                                                                many of its important services, and
 2                                                              falls within the protected scope of the
                                                                Protective Order entered in this action.
 3
                                                                See Dkt. 81 at 2–3. Public disclosure of
 4                                                              such confidential and proprietary
                                                                information could affect Google’s
 5                                                              competitive standing as competitors
                                                                may alter their systems and practices
 6                                                              relating to competing products. It may
 7                                                              also place Google at an increased risk
                                                                of cybersecurity threats, as third parties
 8                                                              may seek to use the information to
                                                                compromise Google’s internal
 9                                                              practices relating to competing
                                                                products. Google has also redacted
10                                                              Plaintiffs’ personal information on
11                                                              pages 8–9. Google may reduce its
                                                                request to seal the material on pages
12                                                              25–40 when the final version of the
                                                                draft document reflected on those
13                                                              pages is filed.
14
            4.      Google’s request is narrowly tailored in order to protect its confidential information.
15
     These redactions are limited in scope and volume. Because the proposed redactions are narrowly
16
     tailored and limited to portions containing Google’s highly confidential or confidential information,
17
     Google requests that the portions of the aforementioned documents be redacted from any public
18
     version of those documents.
19
            5.      Google does not seek to redact or file under seal any portions of the Pretrial Statement
20
     not indicated in the table above.
21
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
22
     and correct. Executed in Bayside, Wisconsin on October 24, 2023.
23

24

25
                                                   By          /s/ Joseph H. Margolies
26                                                      Joseph H. Margolies
27

28

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